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 1    SO. CAL. EQUAL ACCESS GROUP
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 6    Attorneys for Plaintiff
      IN SUN KIL
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      IN SUN KIL,                                       Case No.: 2:19-cv-10600-RGK (PJWx)
11
12                 Plaintiff,
13          vs.                                         NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
14                                                      WITH PREJUDICE
      ALL WIN CORPORATION D/B/A
15    JIANG NAM SPRING; PHILLIP
16    CALIVA, TRUSTEE OF PHILLIP
      CALIVA TRUST; and DOES 1 through
17    10,
18
19                 Defendants.
20
21          PLEASE TAKE NOTICE that IN SUN KIL
22    (“Plaintiff”) pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby
23    voluntarily dismisses the entire action with prejudice pursuant to Federal Rule of Civil
24    Procedure Rule 41(a)(1) which provides in relevant part:
25
            (a) Voluntary Dismissal.
26
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
27
                          and any applicable federal statute, the plaintiff may dismiss an action
28
                          without a court order by filing:

                                                    1
           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
     Case 2:19-cv-10600-RGK-PJW Document 13 Filed 04/16/20 Page 2 of 2 Page ID #:57




 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5
      Court.
 6
 7    DATED: April 16, 2020 SO. CAL. EQUAL ACCESS GROUP
 8
 9                                   By:      /s/ Jason J. Kim
10                                         Jason J. Kim, Esq.
                                           Attorneys for Plaintiff
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           NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
